                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 LISA HORN-BRICHETTO,                             )
                                                  )
        Plaintiff,                                )
                                                  )
 v.                                               )          No. 3:17-cv-163-JRG-DCP
                                                  )
 TIFFANY SMITH,                                   )
 RUSSELL JOHNSON, and                             )
 BECKY RUPPE,                                     )
                                                  )
        Defendants.                               )

             NON-PARTY WITNESSES’ MEMORANDUM IN SUPPORT
        OF MOTION FOR PROTECTIVE ORDER AND TO QUASH SUBPOENAS

        Plaintiff, Lisa Horn-Brichetto, has issued and served four subpoenas to three non-party

 witnesses who are employed as parole officers with the Tennessee Department of Correction: Joe

 Guglielmucci, a parole officer supervisor; Chad Reep, a parole officer; and James Shipley, a parole

 officer. One subpoena commands Officer Reep to produce materials or permit inspection. The

 remaining three subpoenas command Officers Guglielmucci, Reep, and Shipley to appear and give

 deposition testimony.

        Officers Guglielmucci, Reep, and Shipley move for a protective order forbidding the

 discovery and to quash the subpoenas because Ms. Horn-Brichetto cannot show that the deposition
 testimony of Officers Guglielmucci, Reep, and Shipley or the documentation requested is relevant

 to this lawsuit, and compliance with the subpoenas would subject these officers to undue burden

 because they have no knowledge of the allegations in the Complaint nor any relationship to any of

 the parties. Officers Guglielmucci, Reep, and Shipley respectfully request the Court issue a

 protective order denying Plaintiff’s request for deposition testimony and quash the subpoenas

 served upon them, pursuant to Fed. R. Civ. P. 26(c) and 45(d), because the discovery requested

 bears no relevance to this lawsuit and commanding deposition testimony from witnesses who have
 no knowledge of Plainitff’s claims or defenses constitutes undue burden and harassment.




Case 3:17-cv-00163-JRG-DCP Document 53 Filed 08/27/18 Page 1 of 6 PageID #: 282
                                    PRELIMINARY STATEMENT

         Parole Officers Chad Reep and James Shipley are employed by the Tennessee Department

 of Correction and assigned to the Knoxville Unit. (Affidavit of Chad Reep ¶ 1; Affidavit of James

 Shipley ¶ 1). Parole Manager Joe Guglielmucci, also assigned to the Knoxville Unit, supervises

 Officers Reep and Shipley. (Affidavit of Joe Guglielmucci ¶¶ 1, 3).

         On August 13, 2018, Parole Officer Reep was served with two subpoenas issued by

 Plaintiff in this action. (Reep Aff. ¶ 4). One subpoena commanded Officer Reep to produce the

 “Contents of Parole file John H. Brichetto Tomis #553514 to include emails, Tomis records,

 contacts, notes.” (DE 46 at 4; Reep Aff. ¶ 4). The second subpoena commanded Officer Reep to

 appear and give deposition testimony on October 5, 2018. (DE 46 at 3; Reep Aff. ¶ 4).

         On August 20, 2018, Parole Manager Guglielmucci and Parole Officer Shipley were each

 served with a subpoena issued in this action by the Plaintiff commanding them to appear on

 October 5, 2018 and give deposition testimony. (DE 46 at 1, 2; Guglielmucci Aff. ¶ 4; Shipley

 Aff. ¶ 3).

         On July 8, 2015, Plaintiff and John Brichetto1 were convicted by a Morgan County jury of

 theft of property valued at $60,000 or more but less than $250,000 in the case State of Tennessee

 v. John Brichetto and Lisa Brichetto, in the Criminal Court of Morgan County, Tennessee, Ninth

 Judicial District, Docket No. 2011-CR-41 A & B. (DE 30, Affidavit of Gregory Cothron ¶¶ 3, 6).

 Mr. Brichetto is currently serving a parole sentence and Officer Reep is the officer currently

 assigned to supervise Mr. Brichetto. (Reep Aff. ¶ 3).

         Officers Guglielmucci, Reep, and Shipley have each read the Complaint filed in this

 lawsuit. (Guglielmucci Aff. ¶ 5; Reep Aff. ¶ 5; Shipley Aff. ¶ 4). None of these officers has any

 knowledge related to any of the allegations or claims made in the Complaint. (Id.). None of these

 officers know the Defendants in this lawsuit and have had no contact with any of the Defendants


 1
   Mr. Brichetto is not a party to this lawsuit. The Court denied Plaintiff’s Rule 20 motion to amend to
 join John Brichetto as a plaintiff in this lawsuit. (DE 15). Mr. Brichetto’s motion to intervene in this
 matter is currently pending. (DE 31).

                                                      2

Case 3:17-cv-00163-JRG-DCP Document 53 Filed 08/27/18 Page 2 of 6 PageID #: 283
 until the service of the subpoenas on Officer Reep on August 13, 2018. (Guglielmucci Aff. ¶¶ 6-

 8; Reep Aff. ¶¶ 6-8; Shipley Aff. ¶¶ 5-7). These officers do not know and have never met the

 Plaintiff, Lisa Horn-Brichetto. (Guglielmucci Aff. ¶ 9; Reep Aff. ¶ 9; Shipley Aff. ¶ 8).

                                          ARGUMENT

        Parties may obtain discovery “regarding any nonprivileged matter that is relevant to any

 party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1).

 Although the scope of discovery is broad, Courts “may balance a party’s right to discovery with

 the need to prevent fishing expeditions.” Hohl v. McGohan Brabender Financial, LLC, 2015 WL

 4540231, at *2 (S.D. Ohio, Feb. 11, 2015) (citations omitted). A court may issue an order

 forbidding discovery to protect a person “from annoyance, embarrassment, oppression, or undue

 burden or expense.” Fed. R. Civ. P. 26(c)(1). Federal Rule of Civil Procedure 45 authorizes a

 court to quash or modify a subpoena that imposes an undue burden on the person served. Fed. R.

 Civ. P. 45(d)(3)(A)(iv). The protections authorized under Rule 45 to quash a subpoena mirror the

 provisions of Rule 26 that allow the issuance of protective orders. “‘Courts have held that the

 scope of discovery under a subpoena is the same as the scope of discovery under Rule 26.’” Hohl

 at *2 (quoting Hendricks v. Total Quality Logistics, LLC, 275 F.R.D. 251, 253 (S.D. Ohio 2011)).

        When a subpoena is directed to a non-party, the issuing party must show that the documents

 requested are relevant, as well as demonstrating “good cause to justify production.” Perez v. Off

 Duty Police Services, Inc., 2015 WL 2089962, at *1 (W.D. Ky. May 4, 2015) (citations omitted);

 Taylor v. Universal Auto Group I, Inc., 2015 WL 1810316, at *4 (S.D. Ohio April 17, 2015) at *4.

 If the relevance of the documents is not clear from the request, “the party seeking the discovery

 has the burden to show the relevance of the request.” Hendricks at 253. (See also Taylor at *4,

 “The burden of demonstrating relevance is on the party seeking discovery.”).

        While irrelevance is not specifically set forth in Rule 45, it is a valid reason to quash a

 subpoena. For example, in Hendricks, 275 F.R.D. at 253, the Court quashed a subpoena seeking
 records from previous employers because such records were irrelevant to the ‘failure to pay

 overtime’ claim. Id. at 256. In Black v. Kyle-Reno, 2014 WL 667788 (S.D. Ohio Feb. 20, 2014),
                                                 3

Case 3:17-cv-00163-JRG-DCP Document 53 Filed 08/27/18 Page 3 of 6 PageID #: 284
 the Court quashed the subpoenas because they were overly broad and irrelevant. In finding that

 the requested materials (plaintiff’s educational records) were irrelevant, it rejected defendant’s link

 between poor academic performance with poor job performance in plaintiff’s wrongful termination

 suit. See also Perez, supra at *2 (Requests posed undue burden because they sought irrelevant

 material.) “[R]elevance is determined in the context of the elements of the cause of action or

 defense thereto” Taylor, 2015 WL 1810316, at *4. “Only after a showing of good cause does the

 presumption for enforcement of the subpoena arise.” Perez at *1. Rule 45 allows a person subject

 to a subpoena to be protected from undue burden or expense. Tenn. R. Civ. P. 45(d). A person

 who is compelled to produce irrelevant documents and sit for a deposition without any knowledge

 relevant to the allegations of a complaint to which they are not a party would be subject to undue

 burden and expense. The Court should not let this happen in this matter. Seeking irrelevant

 documents and testimony from non-party witnesses is a sufficient basis for the Court to issue an

 order to protect these witnesses from annoyance and undue burden.

        Ms. Horn-Brichetto has sued Defendants over an alleged defamatory letter (“Letter”)

 written by Assistant District Attorney General Tiffany Smith (“General Smith”) in late 2016 to the

 Tennessee Board of Parole. In her Complaint, Ms. Horn-Brichetto describes the Letter as

 retaliatory, defamatory, and cruel and unusual punishment and asks for damages related to the

 statements and substance of the Letter. The Letter was written subsequent to her July 2015

 conviction for stealing money from the State under the guise of Northington Energy LLC.

        The non-party parole officers subpoenaed by Plaintiff were not involved in the writing of

 General Smith’s Letter and have no knowledge of the Plaintiff’s claims. Furthermore, they do not

 know nor have they ever met the Defendants or Ms. Horn-Brichetto. These officer have no

 knowledge that could be considered even remotely relevant to this lawsuit, and Mr. Brichetto’s

 parole file has no relevance to the Plaintiff’s allegations in this suit. Thus, Officer Reep should

 not be required to produce the requested documents and none of the parole officers should be
 compelled to testify about something they know nothing about. Mr. Brichetto’s parole file will

 not provide any information that could possibly be relevant to any of Ms. Horn-Brichetto’s claims
                                                   4

Case 3:17-cv-00163-JRG-DCP Document 53 Filed 08/27/18 Page 4 of 6 PageID #: 285
 in this case and Officer Reep should not be required to expend State resources to produce the file.

 Given the lack of relevancy to Ms. Horn-Brichetto’s claims, there is no basis and no good cause

 to require Officers Guglielmucci, Reep, and Shipley to submit to providing testimony. It appears

 that the subpoenas are simply a tool of harassment directed toward State employees and the Court

 should issue a protective order and quash the subpoenas.

                                           CONCLUSION

        For the reasons stated herein, Parole Officers Joe Gugliemucci, Chad Reep, and James

 Shipley respectfully request that this Court grant the Motion for a Protective Order and to Quash

 the Subpoenas.

                                                Respectfully submitted,


                                                HERBERT H. SLATERY III
                                                ATTORNEY GENERAL AND REPORTER

                                                By: /s/ Mary Elizabeth McCullohs
                                                Mary Elizabeth McCullohs, TN BPR No. 026467
                                                Senior Assistant Attorney General
                                                Office of the Attorney General
                                                P.O. Box 20207
                                                Nashville, TN 37202-0207
                                                (615) 741-8126
                                                mary.mccullohs@ag.tn.gov

                                                Attorney for Non-Party Parole Officers

                                  CERTIFICATE OF SERVICE

         I hereby certify that, on August 27, 2018, a true and correct copy of the foregoing Non-
 Party Witnesses’ Memorandum in Support of Motion for Protective Order and to Quash
 Subpoenas was filed electronically with the Clerk of Court using the electronic filing system which
 will send electronic notification of such filing to all parties that have appeared in this action, and
 was served, via U.S. Mail, postage prepaid, to the following:

  Lisa Horn-Brichetto
  4815 Kingston Pike
  Knoxville, TN 37919

  Pro se

                                                   5

Case 3:17-cv-00163-JRG-DCP Document 53 Filed 08/27/18 Page 5 of 6 PageID #: 286
                                    /s/ Mary Elizabeth McCullohs
                                    Mary Elizabeth McCullohs




                                       6

Case 3:17-cv-00163-JRG-DCP Document 53 Filed 08/27/18 Page 6 of 6 PageID #: 287
